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iP \ nov 13200 |)
UNITED STATES DISTRICT COURT \
a ii _ T
FOR THE CRS Wo
E ASTE RN DISTRICT OF
UNITED STATES OF AMERICA Case No. 1? 1O-CR-002749- 68L
(write the number of your criminal
case)
< MOTION FOR SENTENCE
REDUCTION UNDER

EutGENE A -HONY Th loMAS 18 U.S.C. § 3582(c)(1)(A)
" (Compassionate Release)
Write your full name here. .
(Pro Se Prisoner)

 

NOTICE

The public can access electronic court files. Federal Rule of Criminal Procedure 49.1
addresses the privacy and security concerns resulting from public access to electronic court
files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a
complete financial account number. A filing may include only: the last four digits of a social
security number; the year of an individual's birth; a minor’s initials; and the last four digits of

a financial account number.

 

 

 

Does this motion include a request that any documents attached to this motion be filed
under seal? (Documents filed under seal are not available to the public.)

of Yes

L] No

If you answered yes, please list the documents in section IV of this form.

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I. SENTENCE INFORMATION

 
   

 

 

Term of imprisonment imposed: | 35 Ye ARS  H2OMo NTHS
Approximate time served to date: IQ YEARS

Projected release date: SEPTEMBER 9 2025

Length of Term of Supervised Release: 5 YEARS

 

Have you filed an appeal in your case?

Ww Yes

O No

Are you subject to an order of deportation or an ICE detainer?
(1 Yes

WM No

Il. EXHAUSTION OF ADMINISTRATIVE REMEDIES!

18 U.S.C. § 3582(c)(1)(A) allows you to file this motion (1) after you have fully exhausted all
administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on your
behalf, or (2) 30 days after the warden of your facility received your request that the warden
make a motion on your behalf, whichever is earlier.

Please include copies of any written correspondence to and from the Bureau of Prisons related
to your motion, including your written request to the Warden and records of any denial from
the Bureau of Prisons.

 

1 The requirements for this compassionate release motion being filed with the court differ from
the requirements that you would use to submit a compassionate release request to the Bureau
of Prisons. This form should only be used for a compassionate release motion made to the
court. If you are submitting a compassionate release request to the Bureau of Prisons, please
review and follow the Bureau of Prisons program statement.

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Have you personally submitted your request for compassionate release to the Warden
of the institution where you are incarcerated?

af Yes, I submitted a request for compassionate release to the warden on

MAY 13,2020

O No, I did not submit a request for compassionate release to the warden.

If no, explain why not:

 

 

Was your request denied by the Warden?

w Yes, my request was denied by the warden on (date): SiiNE 29 JORO.

C) No. I did not receive a response yet.

Ill. GROUNDS FOR RELEASE

Please use the checkboxes below to state the grounds for your request for compassionate
release. Please select all grounds that apply to you. You may attach additional sheets if
necessary to further describe the reasons supporting your motion. You may also attach any
relevant exhibits. Exhibits may include medical records if your request is based on a medical
condition, or a statement from a family member or sponsor.

A. Are you 70 years old or older?
C] Yes.

ny No.
If you answered no, go to Section B below. You do not need to fill out Section A.

If you answered yes, you may be eligible for release under 18 U.S.C. § 3582(c)(1)(A)(ii) if you
meet two additional criteria. Please answer the following questions so the Court can determine
if you are eligible for release under this section of the statute.

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Have you served 30 years or more of imprisonment pursuant to a sentence imposed
under 18 U.S.C. § 3559(c) for the offense or offenses for which you are imprisoned?

CL} Yes. bie

A No.

Has the Director of the Bureau of Prisons determined that you are not a danger to the
safety of any other person or the community? N/A

OO Yes.
MO No.

B. Do you believe there are other extraordinary and compelling reasons for your
release?

wm Yes.
LJ No.

If you answered “Yes,” please check all boxes that apply so the Court can determine whether
you are eligible for release under 18 U.S.C. § 3582(c)(1)(A)(i).

O Ihave been diagnosed with a terminal illness.

(1 Ihave a serious physical or medical condition; a serious functional or cognitive
impairment; or deteriorating physical or mental health because of the aging
process that substantially diminishes my ability to provide self-care within the
environment of a correctional facility, and I am not expected to recover from this
condition.

1) Iam 65 years old or older and I am experiencing a serious deterioration in

physical or mental health because of the aging process.

(1 The caregiver of my minor child or children has died or become incapacitated
and I am the only available caregiver for my child or children.

Cl My spouse or registered partner has become incapacitated and I am the only
available caregiver for my spouse or registered partner.

yor: oT pag
mM There are other extraordinary and'compélting reasons for my release.

coorramy Page 4 of 6
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Shem ee ea

Please explain below the basis for your request. If there is additional information regarding any
of these issues that you would like the Court to consider but which is confidential, you may
include that information on a separate page, attach the page t to this motion, and, in section IV
below, request that that attachment be sealed.

 

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Genre ncind.( 3 Re icim aa ory “No H Or or
Violence. Felony's Fire ender, iS nsive. Programm in4/Cours
IV. eerie $ AND RE best TOS } ntvie, eevee TEN _y cs
(Ne Dises re del Trm mate. No Drug +] or
Please list any documents you are attaching to this motion. A proposed release plan is included coh hol

as an attachment. You are encouraged but not required to complete the proposed release plan. abuse.
A cover page for the submission of medical records and additional medical information is also

included as an attachment to this motion. Again, you are not required to provide medical

records and additional medical information. For each document you are attaching to this

motion, state whether you request that it be filed under seal because it includes confidential

 

information.
Document Attached? Request to seal?
Proposed Release Plan wes O No Yes CO No
Additional medical information C1 Yes No CO Yes Cl No

 

Yes 3 C1 No

Yes Yes Ol No

 

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Sw A!

V. REQUEST FOR APPOINTMENT OF COUNSEL” ~

I do not have an attorney and I request an attorney be appointed to help me.

pon
gtds

Yes

1 No

VI. MOVANT’S DECLARATION AND SIGNATURE

For the reasons stated in this motion, I move the court for a reduction in sentence
(compassionate release) under 18 U.S.C. § 3582(c)(1)(A). I declare under penalty of
perjury that the facts stated in this motion are true and correct.

Tew. 6 2020 Augie Ci. Hamad
Date Signature

 

 

FUGENE THOMAS

Name

16010-0083

Bureau of Prisons Register #

FCT McDowELl= Mcp MebowEh Fc]

Bureau of Prisons Facility

Fepe NSTI N- FC oO
institution’s Address WELCH. WY 2NgO|

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RIS Request: 024771 Thomas, Eugene Reg. No. 76010-083

You requested a reduction in sentence (RIS) and/or a
compassionate release based on concerns about being over
sentenced through a mandatory minimum of 35 years. After careful
consideration, your request is denied.

Title 18 of the United States Code, section 3582(c) (1) (A), allows”
a sentencing court, on motion of the Director of the BOP, to
reduce a term of imprisonment for extraordinary or compelling
reasons. BOP Program Statement No. 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of
18 U.S.C. 3582(c) (1) (A) and 4205(g), provides guidance of the
types of circumstances that present extraordinary or compelling
reasons, such as the inmate’s terminal medical condition;
debilitated medical condition; status as a “new law” elderly
inmate, an elderly inmate with medical conditions, or an “other
elderly inmate”; the death or incapacitation of the family member
caregiver of the inmate’s child; or the incapacitation of the
inmate’s spouse or registered partner. Your request has been
evaluated consistent with this general guidance.

A review of your concerns reveal a reduction in sentence and/or

compassionate reiease is not an appropriate avenue for-a -

resolution to your issue. Your concerns involving over
sentencing does not currently warrant an early release from your
sentence through this program. Accordingly, your RIS request is
denied at this time.

If you are not satisfied with this response to your request, you
may commence an appeal of this decision via the administrative
remedy process by submitting your concerns on the appropriate
form (BP-9). within 20 days of the receipt of this response.

Cc. ruka, Warden ef
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ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

UNITED STATES DISTRICT COURT
~~ FOR THE

FAS TERN DISTRICT OF V IRCINIA

UNITED STATES OF AMERICA
Case No. 1:10 -CR-O0]79-GBE
Vv. (write the number of your criminal
case)
FE
Write your full name here.
PROPOSED RELEASE PLAN

In Support of Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(1)(A)

 

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number or full birth date; the full name of a person known to be a minor; or a complete
financial account number. A filing may include only: the last four digits of a social security
number; the year of an individual's birth; a minor’s initials; and the last four digits of a

financial account number.

 

 

 

If you provide information in this document that you believe should not be publicly
available, you may request permission from the court to file the document under seal. If
the request is granted, the document will be placed in the electronic court files but will
not be available to the public.

Do you request that this document be filed under seal?

W Yes

LI No
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ATTACHMENT TO MOTION FOR COMPASSIONATE RELEASE

PROPOSED RELEASE PLAN

To the extent the following information is available to you, please include the information
requested below. This information will assist the U.S. Probation and Pretrial Services Office to
prepare for your release if your motion is granted.

A. Housing and Employment

Provide the full address where you intend to reside if you are released from prison:

HHILADMIRAL DRIVE WooDBRIDGE VA Q2192

 

Provide the name and phone number of the property owner or renter of the address

where you will reside if you are released from prison:

LATAUNIA ANDERSON 703 G2é GO8T

 

Provide the names (if under the age of 18, please use their initials only), ages, and
relationship to you of any other residents living at the above listed address:

 

L ATAUNIA AwDeRSON, 49, FIANCE | \< asa
RAO, SON of LATAUNIA ANDERSON

If you have employment secured, provide the name and address of your employer and
describe your job duties:

 

 

List any additional housing or employment resources available to you:

PROJECT F MPOWFRMENT
OFFENDER AID and RESTORATION
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRIGINIA

DIVISION
LANITED STATES OF AMER ICA
Plaintiff(s),
v. t:10-¢R-00279- GBL

Civil Action Number:

Evoene ANTHONY THOMAS
Defendant(s).

LOCAL RULE 83.1(M) CERTIFICATION

I declare under penalty of perjury that: . .
a5 R ehtase/
No attorney has prepared, or assisted in the preparation of. 8a Hatio NC ofpa.ssiance

(Title of Document
Sentence Re duct torr

Ext raordinary + Compelliin

Name of Pro Se Party (Print or Type) Reason

¢ “T

—EAwines ob frre pa

Signature of Pro Se Party

Executed on: N oy [3 AORLO (Date)

OR

The following attorney(s) prepared or assisted me in preparation of

 

(Title of Document)

 

(Name of Attorney)

 

(Address of Attorney)

 

(Telephone Number of Attorney)
Prepared, or assisted in the preparation of, this document

 

(Name of Pro Se Party (Print or Type)

 

Signature of Pro Se Party

[Executed on: — (Date)
